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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

ERIK BLAIR, on behalf of himself
and similarly situated employees,

Plaintiffs, Civil Action No. 2:18-cv-254
Vv. Hon. William S. Stickman IV
COMPREHENSIVE HEALTHCARE Lead Case

MANAGEMENT SERVICES, LLC,

Defendant.

 

 

 

 

VALERIE PITKIVITCH, et al., on
behalf of herself and similarly situated
employees,

Plaintiffs, Civil Action No. 2:18-cv-1667
V. Member Case

COMPREHENSIVE HEALTHCARE
MANAGEMENT SERVICES, LLC,
et al.,

Defendants.

 

 

ORDER OF COURT
AND NOW, this 234 day of August 2021, IT IS HEREBY ORDERED that Defendants,
Samuel Halper’s (“Halper”) and Ephram Lahasky’s (“Lahasky”), Motion to Dismiss (ECF No.
171) is GRANTED in part and DENIED in part. Plaintiffs’ breach of contract claims against

Halper and Lahasky at Count IV of the Third Consolidated Amended Complaint (ECF No. 153)
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are HEREBY DISMISSED with prejudice. Plaintiffs’ remaining claims under the FLSA, PMWA,

and WPCL will proceed.

BY THE COURT:

2th € are

WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

 
